Case 21-11549-RAM Doc 26-1 Filed 03/19/21 Pagei1of5

EXHIBIT A
Case 21-11549-RAM

Doc 26-1 _ Filed 03/19/21

Page 2 of 5

 

 

 

 

 

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ACCOUNT SUMMARY

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(134.009 BO) ¢124,000.00) OMLINE PMT OS ALL2070
Balance Prior ‘To O1/01/2020 00
Plus Charges Prom 01/01/2020 221,6)8,57
01/01/2020 (112,339.89)

Less Payments / Ceedits From

AMOUNTDUE; — _____103.278.68.
